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                            Exhibit 4
                                   GNflOlIO 3Hl NO 3'IIHA\. 1I3HWtIW'I ONIlllH               (0 {
                                                                         lflO )l;)DI   (t3
                                                              3;)ImIY 16.0;) dO Sl;)Y         (6
                                                                         3NId OO{$     (t3
                  S'I3DNY S'I'IaH SAYS lYHl        W3ll 1I0 GYaH HlY3G ONIS01                 (8
                                           3l0A    %00 I S31IIflO31I 1I3HW3W M3N (L
                                                    3l0A   ~31IlflO31I      lflO )l;)I)l      (9
                                                           01)1
           H;)lIflH;) ONrnflG G3'I'I01IlNO;)      3H lSflW 'IOHO;)'IY GNY SOfllIG (~
                                     3NId 00 I $/l3d1IY;) 3Hl NO 3SN3ddO         ONZ   (q
                                                           3NId O~$ 3SN3ddO LS I (t3
                                                                  'I1Y;) ON IMOHS ON (17
                                                                          3NB ~Z$      (t3
                                                              G3flSSI 3H 1'IIM 3NId
'I 'lON dI 'H;)lIflH;) Ol 3lY13H    Ol ONIOO dI G3BIlON           3H lSflW 1I3HW3W 'I (£
                                                                         3NId OO~$ (t3
                NOS1I3d lIflOA NO 3H lSflW 3SflOHHfl'I;) NI SNflO 1I0 SOfllIG (Z
                                                                         3NId 00 1$ (t3
                                          (S'IOOl AlIYl31I;)3S 1I0d NOIld3;)xtI)
          'H;)lIflH;) NI S3;)IA3G ;)INOlIl;)3.'I3. ANY 1I0 'Sl3'IHYl      'S3.NOHd ON (I
                        Sa1fllI lI3.I~lIVH3
                         oJ:Saaow 3WVH
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                                                                                  G3l V(l3JlIVJNI
          snl VlS HlIA\ :;:[NOANV110 SlI:;:[HW:;:[W
                                                  110.'1:;:[:)NVA\0'T1V H.1NOW V $00 1(61
                                                                             G3.13'IdWO:)         'IUNn
 )l3:;:[A\ V $00 I .'10 :;:[:)V'Id NI lnd   :;:[H'I'I1M :;:[NIdV 110 DNINNnll     aNV do' 1I :;:[AVH
Ol S)I:;:[:;:[A\
               l:;:[AVB nOA °Hlvi AlIvnllH:;:[d - lS I AWnNVf           :;:[)IIH110.'1:;:[WI.LNA\oa            (81
                                                                  l3dW:)    :;:[Hl NO -1I3.1WH:)
 :;:[Hl :;:[alSlno   LON aNY WOOll :;:[Hl NI NIVW~             'I'IIM sS:;:[NIsna lI:;:[lWH:)        'I'IV (L I
                                                              :;:[NIdOO~$ H:)llilH:)    NI SNnD ON (91
                                                                                       °)l:)vaTho:)
 SVH )I:):;:[H:) aNnOllD)I:)va         ~Od3a      l:):;:[dSOlld :;:[)lVWNV:) aNnOllVDNVH                 ON (~I
                                                                                             lI:;:[lllVH:)
     3H.1 .'10 NOISSIW1I:;:[dlnOHllM.          :;:[sn 'IVNOSlI:;:[d 110.'1:;:[NOANV110 slI:;:[aw:;:[w
              0.1 lno   a:;:[NVO'I :;:[aOl SI DNIH.10N °A'INO :;:[sn an'I:)         aNY lI:;:[lllVH:)
 110.'1SI °°°:).13 '1I0.1Vl13N:;:[D 'S'IOOl      'NVA 3Hl SV H:)ns lN3Wdlno:;:[              lI:;:[lllVH:) (vI
                                                                                       :;:[NId001$ (B
           :;:[WUlllVlS     110 dIll:;:[S IN:;:[A:;:[lI:;:[lllVH:) Ol S:;:[lnNIW O£ NVBlll:;:[lV'I             (£1
                                                                                       lno     )l:)I)I    (B
                                            NVWOM S,1I3HWTh lI:;:[HlONV H.1IM DNISS:;:[W(li
                                                                                       lno     )l:)I)I    (B
                                                            lI:;:[HW:;:[W
                                                                        V NO NOdV:;:[A\ V DNISn (I I
                                             AlnI:;:[A:;:[S NO DNIQN3d3a        3NId 000 I $-00 I $ (B
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